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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF AMERICA, : 02Cr1543 (DLC)
_y- : ORDER
DERRICK WILSON, : USDC SDNY
be fendant . DOCUMENT
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DENISE COTE, District Judge: DATE FILED: (U1 5202-0

 

 

 

 

 

 

 

 

On November 4, 2020, the defendant filed a pro se motion
for early termination of supervision. It is hereby

ORDERED that, should the defendant which to pursue this
application, he shall advise the Court of what he has done to
satisfy his forfeiture obligation.

Dated: New York, New York
November 5, 2020

theese lM,
DENTSE COTE.
United Stdtes District Judge

 
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